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MARIO A. IAVICOLI, ESQUIRE
43 KINGS HIGHWAY WEST
HADDONFIELD, NEW JERSEY 08033
(856)429-0201
ATTORNEY FOR PLAINTIFF, DAVID BRENNAN


                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


DAVID BRENNAN,                :   CIVIL ACTION
                                    : No. 04 CV 3241(FLW)
                                    : DOCUMENT ELECTRONICALLY
                 Plaintiff,         : FILED
      vs.                           :
                                    :
CEPHALON, INC.,                     :    PLAINTIFF’S SECOND
                                    :    AMENDED COMPLAINT
                                    :
                  Defendants.       :


      David Brennan, 17 Ann Drive, Mt. Laurel, New Jersey, by way

of Complaint says:

                              FIRST COUNT
                    (COMMON LAW WRONGFUL DISCHARGE)

      1.    At all relevant times herein the defendant, Cephalon,

            Inc. (hereafter Cephalon) is a corporation with offices

            located at 145 Brandywine Parkway, West Chester,

            Pennsylvania, does business in Camden County, New

            Jersey and is engaged in interstate commerce.

      2.    At all relevant times herein, the plaintiff, David
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           Brennan, was employed by the defendant Cephalon, Inc.

      3.   At all relevant times herein, the defendant Frank

           Baldino, was the Chairman and Chief Executive Office of

           Cephalon.

      4.   At all relevant times herein, the defendant Richard

           Kaplan was the Vice President of Quality at Cephalon.

      5.   At all relevant time herein, the defendant Tim Sheehan

           was the Director of Quality Assurance at Cephalon or

           otherwise employed by Cephalon.

      6.   At all relevant times herein, the defendant Armando

           Cortez was the Director of Quality Assurance at

           Cephalon.

      7.   At all relevant times herein, the Defendants John Does,

           are one or more fictitious named individuals, persons,

           corporations, professional associations, and/or

           professional corporations, or other forms of entities,

           the identities of which are unknown at present, but who

           are liable to the plaintiff by reason of their

           participation in the acts of retaliation and/or

           discrimination,      whether   directly,    indirectly,    or

           in conspiracy with their co-defendants.

      8.   The plaintiff, David Brennan, was first employed by

           Cephalon on March 4, 2002.

      9.   The plaintiff was terminated from employment by


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            Cephalon on February 12, 2004.

      10.   Plaintiff’s title at Cephalon was Compliance Auditor.

      11.   The defendant Cephalon’s business was the manufacture,

            sale and/or distribution of certain drugs, which are

            regulated by the United State Food Drug Administration

            (hereafter FDA).

      12.   Cephalon manufacturers, sells, and/or distributes a

            drug called Actiq.

      13.   Cephalon manufactured, sold and/or distributed the drug

            Actiq in New Jersey and, in particular, Camden County.

      14.   Actiq is a potent opiod narcotic painkiller drug in

            flavored lollipop form designed to provide relief from

            pain to cancer patients.

      15.   Actiq is a prescription drug which is regulated by the

            FDA, prescribed by physicians in New Jersey, and is

            consumed by New Jersey citizens including in Camden

            County.

      16.   Actiq is an opiod narcotic drug and, therefore, a risk

            exists that it can be abused by individuals in its use,

            including physicians in their prescribing.

      17.   Actiq is an opiod narcotic in flavored lollipop form

            and, therefore, a risk exists that it can be

            inadvertently used by individuals, in particular by

            unknowing children.


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      18.   Actiq is an opiod narcotic drug that is being legally

            and illegally abused by individuals, as a result of

            Cephalon’s actions and/or omissions.

      19.   The FDA in approving Actiq for prescription

            distribution to the consuming patients in need of its

            use, conditioned such approval by requiring Cephalon to

            do that which is recited herein.

      20.   Cephalon is required by the FDA to conduct customer

            surveys of the top four pharmacies that sell Actiq.

      21.   The survey includes questions for the patient regarding

            the receipt of a Welcome Kit.       The distribution of the

            Welcome Kit to each new patient is required as one

            condition of approval in the FDA Risk Management

            Program (RMP).

      22.   Cephalon is required by the FDA to determine if the

            patients are receiving the Welcome Kits.         If the

            Welcome Kits are not being distributed as required in

            the RMP, Cephalon is obligated to take action to

            correct that deficiency.      These obligations and

            requirements are recited in the RMP.

      23.   Cephalon is required to do “Point of Dispensing”

            monitoring as a condition of its FDA approval.

            Cephalon is required to spot check pharmacies to verify

            that they are distributing the Welcome Kits to


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            patients.    If the Welcome Kits are not being

            distributed, Cephalon is obligated to address and

            correct that deficiency.

      24.   Actiq is approved for a very narrow therapeutic

            category.

      25.   The RMP is designed to assure that the drug not be

            marketed outside the approved use.

      26.   Cephalon is obligated to monitor physician prescribing.

      27.   Physician specialities are described as either

            representing appropriate patient selection or

            inappropriate patient selection.

      28.   If the ratio of prescriptions by specialities

            representing inappropriate patient selection exceeds

            fifteen percent (15%) of the total prescriptions

            written,    Cephalon is required to report such to the

            FDA and is further required to conduct physician

            training programs for the offending physician groups.

      29.   The plaintiff, David Brennan, as a Compliance Auditor,

            at Cephalon conducted compliance audits to determine

            whether Cephalon was complying with FDA rules,

            regulations, and conditions of approval for certain

            drugs manufactured, sold, and or distributed by

            Cephalon.

      30.   In the first quarter of 2003, Richard Kaplan (hereafter


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            Kaplan), Vice President of Quality, directed the

            plaintiff, David Brennan, to conduct an audit of the

            Risk Management Program of Cephalon’s drug Actiq.

      31.   With approval of Mr. Kaplan, the plaintiff was to begin

            an RMP audit of Actiq in the second quarter of 2003.

      32.   The plaintiff first developed an Audit Plan with input

            from Mr. Kaplan regarding the compliance audit of

            Actiq.

      33.   The detailed Audit Plan was based on a point by point

            comparison to the approved RMP document requirements

            for the drug Actiq.

      34.   In October of 2003, the plaintiff submitted a draft

            copy of his audit report to Mr. Tim Sheehan, Director

            of Quality Assurance for Cephalon.

      35.   The draft copy of the plaintiff’s audit report

            submitted to Mr. Sheehan concluded that Cephalon was

            NOT in compliance with the Risk Management Program that

            was a condition of approval by the FDA for the drug

            Actiq.

      36.   The draft audit report recited that Cephalon was not in

            compliance with the FDA approval for Actiq’s

            manufacturing, sale and distribution by Cephalon

            because of the following:

            A)   Cephalon was required by the FDA as a condition of


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                 approval, that Cephalon conduct customer surveys

                 of four (4) pharmacy companies that sold Actiq.

                 Cephalon surveyed only one pharmacy company, and,

                 therefore, was not in compliance with FDA

                 approval.

           B)    Cephalon is required by the FDA to ascertain if

                 new patients are receiving the Welcome Kits.           The

                 limited survey disclosed that a large percentage

                 of new patients were not receiving the Welcome

                 Kits.

           C)    Cephalon is required to take action if the new

                 patients are not receiving the Welcome Kits.

                 Cephalon was not taking any action to correct the

                 deficiency; and, therefore, Cephalon was not in

                 compliance.

           D)    Cephalon was required by the FDA to do Point of

                 Dispensing monitoring.       No Point of Dispensing

                 monitoring was conducted apart from one pharmacy

                 company’s direct patient call back surveys; and,

                 therefore, Cephalon was not in compliance.

           E)    The one pharmacy company that was surveyed

                 disclosed that the Point of Dispensing requirement

                 was not met.     Cephalon took no action to correct

                 this deficiency; and, therefore, is not in


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                 compliance.

           F)    Actiq is approved for a very narrow therapeutic

                 category of patients.      Cephalon is obligated to

                 assure that Actiq is not marketed outside the

                 approved therapeutic category of patients.

                 Physician specialities are described as

                 representing appropriate patient selection or

                 inappropriate patient selection.        If the ratio of

                 prescriptions by specialities representing

                 inappropriate patient selection exceeds 15% of the

                 total prescriptions written, the company is

                 required to report such to the FDA and further

                 required to conduct physician training programs

                 for the offending specialties.

           G)    In one section of the Quarterly Reports to the

                 FDA, Cephalon simply states that no individual

                 speciality exceeds 15%.       This 15% reporting

                 applies to specialties designated to represent

                 appropriate patient selection as well as a dozen

                 or more specialties representing inappropriate

                 patient selection.

           H)    In the section of Quarterly Report to the FDA

                 corresponding to specialties representing

                 appropriate vs. inappropriate patient selection


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                 requirement, nothing is reported.         This section is

                 routinely omitted from the report.

            I)   Prescribing data is not analyzed by appropriate

                 and inappropriate patient selection so the ratio

                 has not been determined or reported.

            J)   No physician training programs for offending

                 specialities have been conducted.

            K)   Not only has Cephalon not taken any action to

                 reduce the ratio of prescriptions written by

                 specialties representing inappropriate patient

                 selection but Cephalon’s goal is to grow the use

                 of Actiq at an extraordinary rate.

      37.   Cephalon permitted the above to occur in an effort to

            increase the sales and profits of Cephalon to the

            detriment of the public.

      38.   At the time the plaintiff submitted the draft audit

            report to Mr. Sheehan, plaintiff requested of Mr.

            Sheehan the method by which the report was to be

            published.

      39.   Mr. Sheehan directed the plaintiff not to publish the

            report until Mr. Sheehan discussed the report with Mr.

            Kaplan.

      40.   The plaintiff periodically asked Mr. Sheehan for

            permission to distribute the report.        For approximately


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            six weeks, Mr. Sheehan refused to grant the plaintiff

            permission to distribute the report, after repeated

            requests by plaintiff to distribute the report.

      41.   During the six weeks, plaintiff was waiting to publish

            his report Cephalon hired Mr. Armando Cortez as

            Director of Quality Assurance.

      42.   On November 10, 2003, plaintiff had decided that he was

            going to disclose his findings, conclusions, and RMP

            report to the authorities.

      43.   The plaintiff discussed his concerns and decision to

            disclose with Lisa Carle.       She indicated that since Mr.

            Cortez had recently been hired that plaintiff not

            disclose the RMP audit report until Mr. Cortez had an

            opportunity to review plaintiff’s RMP report on Actiq.

      44.   Plaintiff complied with Lisa Carle’s request to have

            Mr. Cortez review the RMP report prior to publication.

      45.   Mr. Cortez learned of the plaintiff’s discussion with

            Ms. Carle regarding plaintiff’s desire to disclosure

            the RMP report on Actiq.

      46.   On November 11, 2003, Mr. Cortez came to plaintiff’s

            office to discuss an unrelated audit in France.           While

            Mr. Cortez was in plaintiff’s office, plaintiff asked

            Mr. Cortez why plaintiff’s RMP report on Actiq was

            being delayed in its publication.


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      47.   Mr. Cortez gave no reasons for the delay in publishing

            plaintiff’s RMP report.

      48.   As a result of plaintiff’s requests, on November 13,

            2003, Mr. Cortez agreed to call a meeting to discuss

            the report.    The November 13 meeting was attended by

            Richard Kaplan, Mr. Cortez, Mr. Sheehan, and plaintiff.

            Mr. Kaplan directed the plaintiff to mark the copy, RMP

            report “Confidential-Do Not Copy.”        Mr. Kaplan also

            directed the plaintiff to collect the copies of the RMP

            report at the end of the meeting.        Mr. Kaplan and Ms.

            Parker were concerned that the report might get into

            the “wrong hands.”      Mr. Kaplan was quite angry at the

            meeting.

      49.   At the November 13 meeting, plaintiff was given

            specific instructions as to who was to review the RMP

            report and how it was to be reviewed.

      50.   The meeting to review the RMP report was to take place

            on or about December 1, 2003.

      51.   The December 1 meeting participants were to be Tracie

            Parker, Kay McGhee and a marketing person plaintiff

            believed to be Dan Winkleman (he replaced Paula

            Castagno).

      52.   Ms. Parker and Mr. Winkleman attended the December 1

            meeting from the beginning.       Ms. McGhee was late, and


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            the meeting began in her absence.

      53.   When Ms. Parker learned the contents of the report that

            Cephalon was not in compliance, etc., she stated the

            plaintiff was not permitted to recite in the RMP report

            that Cephalon was not in compliance.         Plaintiff

            responded that that was not how he was obligated to

            prepare his audit.      Ms. Parker insisted that Ms.

            Parker’s superior attend the meeting.         Ms. Parker

            demanded that her name be removed from the report.           Ms.

            Parker then said she would not participate in the

            meeting and left the meeting.

      54.   A short time later Ms. Parker returned to the meeting

            with Mr. Kaplan.     Mr. Kaplan asked some questions then

            he and Ms. Parker left the meeting.

      55.   The December 1 meeting continued with Mr. Winkleman

            providing comments on marketing.        As the meeting was

            concluding Ms. McGhee entered the meeting.          The meeting

            then continued wherein McGhee provided comments

            concerning product safety.

      56.   Subsequent to the December 1 meeting, the plaintiff,

            that same day, made revisions to the RMP report, based

            on the comments received at the meeting of December 1.

      57.   On December 1, 2003, after the revisions were made by

            the plaintiff, the plaintiff distributed the RMP


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            finalized report.

      58.   Copies of Plaintiff’s finalized RMP report on Actiq

            were distributed to various individuals in Cephalon and

            the original copy of the report was placed in the QA

            Audit Central Files.

      59.   In accordance with Cephalon’s policy, Carol Marchione

            was responsible to coordinate the response to the RMP

            report on Actiq since her group was responsible for

            assembling and reporting the RMP data to the FDA each

            quarter.

      60.   Ms. Marchione was asked for a response target date

            which she selected to be the end of December 2003.

      61.   The response target date was moved by Ms. Marchione to

            the end of January 2004.

      62.   In the week of February 2, 2004, almost the entire

            Quality Assurance Department was at a QA Summit in Salt

            Lake City, Utah.     Plaintiff was excluded from the QA

            Summit.

      63.   On February 9, 2004, plaintiff reminded Mr. Sheehan

            that the response to the RMP report was overdue and

            plaintiff sought permission from Mr. Sheehan to send

            Ms. Marchione a note concerning the response to the RMP

            report.

      64.   On February 9, 2004, Mr. Sheehan denied plaintiff his


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            request to send a reminder note to Ms. Marchione

            concerning the response to the RMP report.

      65.   From February 9, through February 12, 2004, plaintiff

            asked Mr. Sheehan for permission to send a reminder

            note to Ms. Marchione concerning the response to the

            RMP report.    Mr. Sheehan repeatedly denied plaintiff’s

            requests.

      66.   In the afternoon of February 12, 2004, Mr. Cortez

            directed the plaintiff to accompany him to a meeting.

      67.   In attendance at the February 12, 2004, meeting were

            Mr. Cortez and Pat Vandenberg of Human Resources.

      68.   At the February 12, 2004, the plaintiff was informed

            that he was summarily fired from his position of

            employment with Cephalon.

      69.   Plaintiff received no advance notice from the

            defendants of his firing.

      70.   Following the February 12, 2004, meeting wherein

            plaintiff was fired, Mr. Cortez escorted the plaintiff

            back to his office where plaintiff collected his

            personal effects; then Mr. Cortez escorted the

            plaintiff to the front door of Cephalon and directed

            the plaintiff to leave the Cephalon facility.

      71.   On February 12, 2004, plaintiff was offered

            compensation and job search assistance provided the


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            plaintiff “not say or do anything which is in anyway

            detrimental to Cephalon,” that is plaintiff would

            forever be prevented from disclosing the RMP audit of

            Actiq which disclosed that Cephalon is not in

            compliance with FDA approvals for the drug Actiq.

      72.   Plaintiff did not accept Cephalon’s offer of the hush

            money, that is, plaintiff refused to accept

            compensation under the terms and conditions that would

            silence plaintiff concerning plaintiff’s RMP audit

            report on the drug Actiq.

      73.   Plaintiff is entitled, and Cephalon is obligated to pay

            plaintiff the compensation and benefits as recited in

            the proffered agreement dated February 12, 2004, signed

            by Mr. Carl A. Savini absent any condition that

            plaintiff be silenced concerning plaintiff’s RMP report

            on Actiq.

      74.   Plaintiff had a duty and obligation to disclose his

            findings and conclusions regarding the noncompliance in

            question to the defendant Cephalon.

      75.   Plaintiff had a legal duty and obligation to disclose

            his findings, conclusions, and report regarding the

            noncompliance in question to the FDA.

      76.   Plaintiff’S failure to report his findings, conclusions

            and report regarding the noncompliance in question to


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            the FDA would expose the plaintiff to civil and/or

            criminal liability for suppressing such noncompliance.

      77.   Plaintiff believes that the Risk Management Plan

            contains provisions that legally obligate plaintiff to

            disclose his findings, conclusions, and report

            regarding the noncompliance in question to the FDA.

            (Plaintiff does not have a copy of the RMP and the

            audit report in question; and therefore, must obtain

            same in discovery.)

      78.   The named individual defendants acting in an extra-

            corporate purpose to protect their own careers,

            earnings and other remuneration, conspired to

            intimidate, coerce and wrongfully discharge plaintiff

            in an effort to prevent, hinder, and/or delay the

            execution of federal law by participating in a scheme

            (a) to fire plaintiff, (b) to prevent him from having

            further access to the audit report, company data and

            the RMP, and (c) then offering him money for his

            silence by requiring him to sign an Agreement for money

            wherein he promised “not to say or do anything which in

            anyway is detrimental to Cephalon,” which would

            prohibit plaintiff from disclosing his findings,

            conclusions and report of non-compliance in question to

            the FDA and others such as agencies.


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      79.   The conduct of the plaintiff as recited in this

            Complaint was protected Whistle Blowing conduct.

      80.   The individual defendants, Frank Baldino, Richard

            Kaplan, Tim Sheehan, and Armando Cortez are agents

            and/or employees of Cephalon and Cephalon is liable for

            the actions of the individual defendants as their

            principal master and/or employer.

      81.   Cephalon is liable for the conduct of the individual

            defendants under respondeat superior.

      82.   Based on that which is recited in this Complaint and

            other actions, on February 12, 2004, the defendants

            wrongfully discharged the plaintiff in violation of a

            clear mandate of public policy, in retaliation against

            the plaintiff for engaging in protected whistle blowing

            conduct as recited in this Complaint.

      83.   The individual defendants herein learned of the

            plaintiff’s whistle blowing protected conduct and

            retaliated against the plaintiff and participated in

            the plaintiff’s wrongful discharge.

      84.   The defendants herein acted jointly, in combination, in

            concert, and in conspiracy with one another, within the

            scope and course of their employment or their

            relationship with Cephalon in retaliatory action

            against plaintiff thereby ratifying, acquiescing,


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            condoning or otherwise approving the perpetuation and

            continuance of the retaliatory conduct, scheme and plan

            against plaintiff.

      85.   In firing the plaintiff, the defendants did not follow

            the policies and procedures of Cephalon in addition to

            violating State and Federal Law.

      86.   The Plaintiff’s conduct as recited herein is protected

            conduct under State and Federal Law.

      87.   As a result of the direct and proximate results of

            defendants’ intentional, malicious, willful, wanton,

            reckless or otherwise egregious conduct, plaintiff’s

            State and Federal rights under law have been violated

            and plaintiff has suffered and will suffer damages.

      88.   As a result of what has been recited herein. Plaintiff

            has suffered the following (not by way of limitation):

            Lost past earnings and benefits, lost future earnings

            and benefits, severance pay, medical insurance

            coverage, pension losses, vacation time,

            administrative time,       sick time, comp-time, anxiety,

            stress, embarrassment, humiliation, emotional distress,

            attorney's    fees   and   costs,    all   of   which

            constitute damages for which the Defendants are liable.

      89.   The defendants acted with wanton and wilful disregard

            for the rights of Plaintiff, committed evil minded


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            acts, and participated in intentional wrongdoing,           all

            of which constitutes      malice    and   subjects   the

            Defendants    to liability for punitive damages.

   WHEREFORE,    the   Plaintiff    seeks   a   judgment    against the

defendants Cephalon, Inc., Frank Baldino, Richard Kaplan, Tim

Sheehan, Armando Cortez and John Does for:

   A)    Compensatory damages;

   B)    Punitive damages;

   C)    Attorney's fees;

   D)    Interest and costs.

                           SECOND COUNT
                           (CEPA CLAIM)
   [Note: This Second Count has been dismissed by Court Order.
   Defendants need not Answer it.]

   1)       The First Count is repeated herein and made part of

            this Count.

   2)       The conduct of the plaintiff, as recited in this

            Complaint, was protected conduct within the meaning of

            the Conscientious Employee Protection Act (CEPA),

            N.J.S.A 34:19-2, et seq.

   3)       The defendants violated CEPA N.J.S.A 34:19-2, et seq.

            in wrongfully discharging plaintiff for engaging in his

            protected conduct as recited herein.

   4)       In the event CEPA N.J.S.A 34:19-2 applies to

            plaintiff’s wrongful discharge, then in such event, the



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            plaintiff elect to proceed under CEPA N.J.S.A 34:19-2,

            and not under a common law claim as recited in the

            First Count.

   WHEREFORE,    the   Plaintiff    seeks   a   judgment    against the

defendants Cephalon, Inc., Frank Baldino, Richard Kaplan, Tim

Sheehan, Armando Cortez and John Does for:

   A)    Compensatory damages;

   B)    Punitive damages;

   C)    Attorney's fees;

   D)    Interest and costs.

                               THIRD COUNT
                       (CONTRACT AND ERISA CLAIM)

   1)       The First Count is repeated herein and made part of

            this Count.

   2)       On February 12, 2004, plaintiff was offered

            compensation and job search assistance provided the

            plaintiff “not say or do anything which is in anyway

            detrimental to Cephalon,” that is plaintiff would

            forever be prevented from disclosing the RMP audit of

            Actiq which discloses that Cephalon is not in

            compliance with FDA approvals for the drug Actiq.

   3)       Plaintiff did not accept Cephalon’s offer of the hush

            money, that is, plaintiff refused to accept

            compensation under the terms and conditions that would

            silence plaintiff concerning plaintiff’s RMP audit

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            report on the drug Actiq.

   4)       Plaintiff is entitled, and Cephalon is obligated to pay

            plaintiff the compensation and benefits as recited in

            the proffered agreement dated February 12, 2004, signed

            by Mr. Carl A. Savini absent any condition that

            plaintiff be silenced concerning plaintiff’s RMP report

            on Actiq.

   5)       As part of his employment contract, the plaintiff is

            entitled to severance pay and other benefits due to his

            being fired by Cephalon.

   6)       It is the policy and practice of Cephalon to provide

            severance pay and other benefits to terminated

            employees.

   7)       Plaintiff was denied severance pay and other benefits

            upon his firing on February 12, 2004.

   8)       The defendant Cephalon asserted that the plaintiff’s

            compensation and benefits which plaintiff was to

            receive upon termination is regulated by the Employee

            Retirement Income Security Act (ERISA) under a plan

            adopted by Cephalon.      (Plaintiff would need discovery

            as to Cephalon’s ERISA representations.)

   9)       In the alternative, plaintiff is entitled and Cephalon

            is obligated to pay plaintiff the compensation and

            benefits in question upon his termination in accordance


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            with the ERISA and Cephalon’s plan

   WHEREFORE,    the   Plaintiff    seeks   a   judgment    against the

defendants Cephalon, Inc., Frank Baldino, Richard Kaplan, Tim

Sheehan, Armando Cortez and John Does for:

   A)    Compensatory damages;

   B)    Punitive damages;

   C)    Attorney's fees;

   D)    Interest and costs.

                            FOURTH COUNT
                           (TORT ACTION)
   [Note: This Fourth Count has been dismissed by Court Order.
   Defendants need not Answer it.]

   1)       The First Count and Third Counts are repeated herein

            and made part of this Count.

   2)       The defendants offer of compensation and benefits to

            plaintiff in return for his silence concerning the

            defendants wrongful conduct is illegal and against

            public policy.

   3)       In the past, the defendant Cephalon has taken a similar

            approach to employees who possessed detrimental

            information regarding Cephalon, thus engaging in a

            pattern of such conduct to silence Cephalon employees.

   4)       The defendants acted with wanton and wilful disregard

            for the rights of Plaintiff, committed evil minded

            acts, and participated in intentional wrongdoing,           all



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            of which constitutes      malice    and   subjects   the

            Defendants    to liability for punitive damages.

   WHEREFORE,    the   Plaintiff    seeks   a   judgment    against the

defendants Cephalon, Inc., Frank Baldino, Richard Kaplan, Tim

Sheehan, Armando Cortez and John Does for:

   A)    Compensatory damages;

   B)    Punitive damages;

   C)    Attorney's fees;

   D)    Interest and costs.

                            FIFTH COUNT
   [Note: This Fifth Count has been dismissed by Court Order.
   Defendants need not Answer it.]

   1)       The First Count through the Fourth Count is

            incorporated by reference and made a part of this

            Count.

   2)       The plaintiff’s complaints, statements, communications,

            whistle blowing actions, etc. as recited herein, are

            protected conduct by the United States Constitution

            First Amendment, U.S.C.A. Const. Amends 1 & 14.

   3)       The defendants conspired, intimidated, coerced and

            wrongfully discharged the plaintiff for exercising his

            First Amendment rights and engaging in the protected

            conduct as recited herein.

   4)       The plaintiff’s complaints, statements, communications,

            and whistle blowing actions etc., are protected conduct


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            under Section 2 of the Civil Rights Act of 1871, 42

            U.S.C. §1985.

   5)       The defendants have conspired to “prevent hinder or

            delay the execution of federal law” which is in

            violation of Section 2 of the Civil Rights Act of 1871;

            U.S. Congress Statutes at Large, Vol XVII, Ch 22,

            Section 2 (Approved April 20, 1871); 42 USC § 1985.

   6)       The defendants conspired to wrongfully discharge the

            plaintiff for the complaints, statements,

            communications, and whistle blowing activities etc.

            recited herein wherein the defendants’ actions were in

            violation of, Section 2 of the Civil Rights Act of

            1871, to coerce and intimidate the plaintiff regarding

            his right to make the statements and disclosures to the

            public and Federal authorities as recited in this

            Complaint.

  WHEREFORE, the plaintiff seeks a judgment against the

defendants Cephalon, Inc., Frank Baldino, Richard Kaplan, Tim

Sheehan, Armando Cortez and John Does for:

  A)       Compensatory damages;

  B)       Punitive damages;

  C)       Attorney’s fees; and

  D)       Interest and costs.

                            JURY TRIAL DEMAND


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  Plaintiff hereby demands a trial by jury as to all issues.



                                   By:/s/Mario A. Iavicoli mi0737___
                                         43 Kings Highway West
                                         Haddonfield, NJ 08033
                                         (856) 429-0201
Date: April 6, 2005                 FAX: (856) 429-1098
                                         miavicoli@comcast.net




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